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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS                                                                                 No. 06-269

RONNELL VALLERY                                                                      SECTION I


                                   ORDER AND REASONS

        Pursuant to 18 U.S.C. § 3582(c)(2), certain federal defendants can move for reduction of

their sentences based on amendments to the United States Sentencing Guidelines.            Pro se

defendant, Ronnell Vallery (“Vallery”), has filed a motion 1 for appointment of counsel because he

believes that he may be entitled to a sentence reduction in light of U.S.S.G. App. C. Amendment

794 (“Amendment 794”). 2 Because Vallery is currently serving a mandatory minimum sentence

of 240 months, he is not eligible for a sentencing reduction, and his motion should therefore be

denied. 3

        Vallery “has no constitutional right to appointed counsel for the purpose of bringing a

§ 3582(c)(2) motion.” United States v. Forge, 401 F. App’x 984 (5th Cir. 2010) (citation omitted).

Nor does he have a statutory right to an attorney. United States v. Whitebird, 55 F.3d 1007, 1011




1
  R. Doc. No. 487.
2
  Amendment 794 was issued on November 1, 2015. See United States v. Quintero-Leyva, 823
F.3d 519, 521 (9th Cir. 2016). It was passed as a “clarifying amendment” in order to provide
additional guidance to sentencing courts in determining whether a mitigating role adjustment
applies under U.S.S.G. § 3B1.2. U.S.S.G. App. C. Amendment 794. The U.S. Sentencing
Commission did not make Amendment 794 retroactive to all cases. See U.S.S.G. § 1B1.10(d)
(2015). Furthermore, contrary to Vallery’s contention in his brief, the Ninth Circuit’s decision in
Quintero-Leyva only applied Amendment 794 retroactively in the context of a direct appeal, not
for the purposes of a motion for sentence reduction pursuant to § 3582(c)(2). See 823 F.3d at 521.
3
  Indeed, this Court has previously denied motions to reduce sentence by Vallery for the same
reason. See R. Doc. Nos. 364, 436.
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(5th Cir. 1995); see also United States v. Hereford, 385 F. App’x 366, 368 (5th Cir. 2010). Instead,

the Court must appoint counsel to represent Vallery only if fundamental fairness or the interests

of justice require such an appointment. United States v. Armstrong, 637 F. App’x 143, 144 (5th

Cir. 2016) (citing United States v. Robinson, 542 F.3d 1045, 1052 (5th Cir. 2008); Whitebird, 55

F.3d at 1011).

       Pursuant to § 3582(c)(2), a defendant’s sentence may be modified if he was sentenced to

“‘a term of imprisonment based on a sentencing range that subsequently was lowered by the

Sentencing Commission.’” United States v. Doublin, 572 F.3d 235, 237 (5th Cir. 2009) (quoting

§ 3582(c)(2)). However, a reduction under § 3582(c)(2) is not authorized if an amendment does

not lower the guideline range due to, for example, the operation of a statutory mandatory minimum

sentence. United States v. Kelly, 716 F.3d 180, 181 (5th Cir. 2013) (citing U.S. SENTENCING

GUIDELINES MANUAL § 1B1.10, cmt. n. 1(A)).

       Because Vallery is serving a mandatory minimum sentence of 240 months pursuant to 21

U.S.C. § 841(b), a reduction under 18 U.S.C. § 3582(c)(2) is not permitted. Furthermore, because

Vallery’s request for a reduction is an uncomplicated matter that does not turn on unresolved or

disputed issues, neither fundamental fairness nor the interests of justice require this Court to

appoint an attorney to represent him before resolving it. See Armstrong, 637 F. App’x at 144.

       IT IS ORDERED that Vallery’s motion to appoint counsel is DENIED.



       New Orleans, Louisiana, August 24, 2016.



                                                  _______________________________________
                                                            LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE



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